             Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 1 of 6



                      IN THE UNITED STATES DISTRICT COURT FOR
                           SOUTHERN DISTRICT OF ALABAMA
                                 SOUTHERN DIVISION

JUDY N. BROCK, individually and on              )
behalf of a class of others similarly           )
situated,                                       )       CLASS ACTION COMPLAINT
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )           CASE NO. 14-00322
                                                )
RESURGENT CAPITAL SERVICES,                     )
LP and LVNV Funding, LLC,                       )
                                                )
        Defendants.                             )

                                 CLASS ACTION COMPLAINT

        COMES NOW the Plaintiff, Judy N. Brock (hereafter the “Plaintiff”) by counsel, and

asserts her claims against the above named Defendants as follows:

                                  JURISDICTION AND VENUE

        1.       This Court has jurisdiction over this case pursuant to 28 U.S.C. § 1331 because the

complaint contains claims that arise under the laws of the United States.

        2.       Venue is proper in this District because the acts and transactions occurred here and

all the parties reside or transact business here.

                                 PRELIMINARY STATEMENT

        3.       This is an action for actual damages, statutory damages, costs and attorney’s fees

brought pursuant to the Fair Debt Collection Practices Act, 15 U.S.C. § 1692 (“FDCPA”). Plaintiff

brings this action individually and on behalf of all others similarly situated to recover damages by

reason of the Defendants’ violations of the FDCPA. The violating actions addressed in this

Complaint stem from attempts to collect a time barred debt by filing a proof of claim form in

Plaintiff’s Chapter 13 bankruptcy case.


                                                    1
                Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 2 of 6



                                                PARTIES

           5.       Plaintiff is a natural person and adult resident of Mobile County, Alabama. She is

a “Consumer” as defined by 15 U.S.C. § 1692a(3).

           6.       Defendant Resurgent Capital Services, LP (“Resurgent”) does business within the

State of Alabama.

           5.       Resurgent, according to its website, “is a manager and servicer of domestic and

international consumer debt portfolios for credit grantors and debt buyers.”1

           6.       Defendant LVNV Funding, LLC (“LVNV”) also does business within the State of

Alabama.

           7.       LVNV, according to its website, “purchases portfolios of both domestic (U.S.) and

international consumer debt owned by credit grantors including banks and finance companies, and

by other debt buyers.”2

           8.       Resurgent and LVNV are regularly engaged in the practice debt collection.

           9.       The Defendants send collection letters and places collection calls as a regular part

of its business.

           10.      Defendants are debt a collectors as defined by the FDCPA.

                                        FACTUAL ALLEGATIONS

           11.      Plaintiff, on April 14, 2014 filed for relief under Chapter 13 of Title 11 U.S. Code

in the Bankruptcy Court for the Southern District of Alabama, Case Number 14- 01200.

           12.      The Resurgent, on or about filed a proof of claim against, on behalf of and at the

direction of LVNV, her in her bankruptcy case seeking to collect the sum of $4,155.40,




1
    See https://www.resurgent.com/ .
2
    See http://www.lvnvfunding.com/ .

                                                     2
            Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 3 of 6



        13.       The claim, attached as Exhibit One, states the original creditor is “Washington

Mutual Bank, NA” and that the date of the last transaction on the account was stated as Jamuary

16, 2008.

        14.       The claim is, on its face, barred by the applicable statute of limitations.

        15.       The filing of such a claim is an attempt to collect a time barred debt and a violation

of at least Sections 1692e and 1692f of the FDCPA because it is “unfair,” unconscionable,”

deceptive,” and misleading.

                                              COUNT I
                                           (FDCPA Violation)

        17.       Plaintiff realleges and incorporates all of the preceding paragraphs as if fully set

out herein.

        18.       As a result of its violations of the FDCPA, Resurgent and LVNV are liable

separately and severely, to Plaintiff for actual and statutory damages, plus costs and attorney’s

fees.

        WHEREFORE, Plaintiff respectfully requests that judgment be entered against

Defendants separately and severally for the following:

        A.        Actual and statutory damages pursuant to 15 U.S.C. § 1692k;

        B.        Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k; and

        C.        Such other and further relief as this Court deems just and proper, the premises

considered.

                                          COUNT II
                                 (CLASS ACTION ALLEGATIONS)

        19.       Plaintiff realleges and adopts all of the relevant foregoing paragraphs contained in

this complaint.

        20.       Plaintiff prays that this court will certify this action as a class action as provided by

                                                     3
         Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 4 of 6



Federal Rules of Civil Procedure, Rule 23, and realleges and incorporates by reference the

allegations and counts of complaint on behalf of all those persons hereinafter described belonging

to the class or any sub-class therein.

       21.     Plaintiff brings this action on behalf of herself and all members of a class defined

as all consumers in the United States who:

               a.      Filed for relief under chapter 13 of title 11 U.S. Code; and

               b.      The defendants, or either of them, or caused to be filed in its behalf

       filed one or more claims, as that term is used in 11 U.S.C. § 501, in connection with

       debts whose collection was barred by the applicable limitations period;

               c.      Within a period, beginning one year prior to the filing of the original

       complaint through the date of the certification of a class herein.

       22.     The class is so numerous, that joinder of all members is impractical. Plaintiff further

avers that there are questions of law or fact common to the class relating to the conduct of the

defendant regarding said claims. Plaintiff further avers that her claims or defenses, as

representative of the class, are typical of the class. Plaintiff further avers that in a representative

capacity she will fairly and adequately protect the interest of the class.

       23.     Each class member has, or has been subjected to collection activity in violation of

the FDCPA because the defendant has or attempted to collect a time barred debt from class

members.

       24.     Names and addresses of class members are presently unknown to plaintiff, but can

be readily ascertained from the defendants’ business records.

       25.     Common or similar issues of law and fact predominate over individual issues.

These common issues include, but are not limited to the following:



                                                  4
         Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 5 of 6



               a.      Whether Defendants violated the FDCPA by filing a Proof of Claim related

               to a time barred debt;

               b.      What is the appropriate remedy for Defendants’ violations of the FDCPA?

       26.     Proof of common facts and legal doctrines by the representative plaintiff will

determine the claims of each member of the class.

       27.     This class action proceeding will provide a practical basis for the determination of

all interest of the parties, prevent inconsistent adjudications, maximize judicial economy, and is

superior to all other available methods of fair and efficient adjudications of the controversy.

       28.     The named representative’s claims are typical and representative of the class.

       29.     It is and was the practice of Defendants to attempt debt collection that was in

violation of the FDCPA as stated in the above.

       WHEREFORE, Plaintiff prays that this court will certify this as a class action, and award

the members of the class or subclasses herein the remedies provided for in 15 U.S.C. §

1692k(a)(2)(B).

                                                      Respectfully Submitted,


                                                      /s/ Earl P. Underwood, Jr.
                                                      Earl P. Underwood, Jr. (UNDEE6591)
                                                      Underwood & Riemer, P.C.
                                                      21 South Section Street
                                                      Fairhope, AL 365832
                                                      Telephone: 251-990-5558
                                                      Email: epunderwood@alalaw.com




PLAINTIFF DEMANDS A TRIAL BY JURY IN THIS MATTER.

                                                      /s/ Earl P. Underwood, Jr.
                                                      Earl P. Underwood, Jr. (UNDEE6591)


                                                 5
      Case 1:14-cv-00324-WS-M Document 1 Filed 07/14/14 Page 6 of 6




DEFENDANT RESURGENT WILL BE SERVED BY CERTIFIED MAIL AT:

    Registered Agent Name                  CSC LAWYERS INCORPORATING SVC INC

                                                  2 NORTH JACKSON ST., SUITE 605
     Registered Office Mailing Address
                                                      MONTGOMERY, AL 36104




DEFENDANT LVNV WILL BE SERVED BY CERTIFIED MAIL AT:

    Registered Agent Name                  CSC-LAWYERS INCORPORATING SVC INC

                                                       150 SOUTH PERRY STREET
       Registered Office Mailing Address
                                                        MONTGOMERY, AL 36104




                                              6
